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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                          )
 In re:                                                                   )
                                                                          )   Chapter 11
                                                            1
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                                       )
                                                                          )   Case No. 19-34054 (SGJ)
                                Debtor.                                   )
                                                                          )
                                                                          )
 HIGHLAND CAPITAL MANAGEMENT, L.P.                                        )
                                                                          )
                                Plaintiff,                                )
 vs.                                                                      )
                                                                          )
 HIGHLAND CAPITAL MANAGEMENT FUND                                         )   Adv. Pro. No. 21-03000 (SGJ)
 ADVISORS, L.P., NEXPOINT ADVISORS, L.P.,                                 )
 HIGHLAND INCOME FUND, NEXPOINT                                           )
 STRATEGIC OPPORTUNITIES FUND, NEXPOINT                                   )
 CAPITAL INC., AND CLO HOLDCO, LTD.,                                      )
                                                                          )
                               Defendants.                                )
                                                                          )

                                      CERTIFICATE OF SERVICE

     I, Elliser Silla, depose and say that I am employed by Kurtzman Carson Consultants LLC
(“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On June 30, 2021, at my direction and under my supervision, employees of KCC caused
the following document to be served via Electronic Mail upon the service lists attached hereto as
Exhibit A and Exhibit B; and via First Class Mail upon the service lists attached hereto as
Exhibit C and Exhibit D:



                                             (Continued on Next Page)




1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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   •   Order Approving Stipulation Converting Trial Dates to Status Conference [Docket
       No. 102]


Dated: July 6, 2021
                                            /s/ Elliser Silla
                                            Elliser Silla
                                            KCC
                                            222 N Pacific Coast Highway, Suite 300
                                            El Segundo, CA 90245




                                           2
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                              EXHIBIT A
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                                                                             Exhibit A
                                                                       Core/2002 Service List
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                 Description                               CreditorName                      CreditorNoticeName                              Email
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Highland Capital Management, L.P.
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                                                                             Exhibit A
                                                                       Core/2002 Service List
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                                                                         Exhibit A
                                                                   Core/2002 Service List
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                                              The Mark and Pamela Okada
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Highland Capital Management, L.P.
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                              EXHIBIT B
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                                                                Adversary Service List
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Highland Capital Management, L.P.
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                              EXHIBIT C
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                                                                                       Core/2002 Service List
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           Description                        CreditorName                CreditorNoticeName                  Address1                 Address2         Address3       City     State      Zip
                                                                                                      8080 North Central
Bank                                 BBVA                             Michael Doran                   Expressway                  Suite 1500                       Dallas       TX      75206
                                     Cole, Schotz, Meisel, Forman &                                   301 Commerce Street,
Creditor                             Leonard, P.A.                                                    Suite 1700                                                   Fort Worth   TX      76102
                                                                      Centralized Insolvency
IRS                                  Internal Revenue Service         Operation                       PO Box 7346                                                  Philadelphia PA      19101-7346
                                                                                                      225 Franklin Street, 18th
Secured Creditor                     KeyBank National Association     as Administrative Agent         Floor                                                        Boston       MA      02110
Secured Creditor                     KeyBank National Association     as Agent                        127 Public Square                                            Cleveland    OH      44114
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TX Comptroller of Public Accounts    Accounts                         Bankruptcy Section           PO Box 13258                                                    Austin       TX      78711
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                                                                      Bankruptcy-Collections
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                               EXHIBIT D
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                                                                                   Exhibit D
                                                                             Adversary Service List
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